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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
------------------------------------------X
DEBORAH LAUFER,
                                              Case No.: 3:19-cv-01581-BKS-ML
                 Plaintiff,
v.

JEGG REALTY NORWICH, LLC,

                  Defendant.
------------------------------------------X


           PLAINTIFF’S MEMORANDUM IN FURTHER SUPPORT OF STANDING




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       Plaintiff, by and through undersigned counsel, hereby files this Reply To Defendant’s

Memorandum Of Law Challenging Plaintiff’s Standing.

I.     Procedural Background

       The instant matter does not involve any pending motion. Rather, in Laufer v. Laxmi &

Sons, LLC, 1:19-cv-1501-BKS-ML, DE 15 (N.D. N.Y. 5/6/20), this Court issued an Order

requiring that Plaintiff file a memorandum in all pending cases explaining her standing to pursue

these actions involving hotel discrimination with respect to their online reservations services. On

May 28, 2020, Plaintiff filed her Memorandum regarding standing. DE 17. The Court’s Order

did not require Plaintiff to file an additional affidavit in this case and, therefore, none was filed.

Rather, Plaintiff’s Memorandum was based on the sufficiency of her allegations and the law as it

applies to website discrimination and standing.

       Defendant did not file a motion of any kind. Rather, it filed a Memorandum Of Law

Challenging Plaintiff’s Standing. The arguments raised by Defendant’s Brief are limited to a

single premise: namely, that the injury can only occur at the physical property and that

encountering website discrimination is not an injury. In short, Defendant fails to rebut the slew

of authorities submitted by Plaintiff in her Memorandum explaining why she has standing.

       Moreover, in her Memorandum, Plaintiff was only required to brief the Court with

respect to whether the allegations set forth in the complaint established a cause of action. In other

words, whether her visits to a discriminatory online reservations service and intent to return to

the same are sufficient. As the Defendant has filed an opposition brief, and out of an abundance

of caution, Plaintiff hereby accompanies this brief with her affidavit, which better explains her

standing.




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        As set forth in her Affidavit, Exhibit A attached hereto, Laufer resided for many years in

New York, has family and friends here, and frequently returns to the area and travels all over the

State. When she visits, she stays in hotels. More significantly, Laufer has a system of tracking

the hotels she has sued and ensuring that she returns to their online reservations service in each

case. Id., para. 8. In this regard, her list sets forth every hotel she has sued, with columns

indicating the dates she visited the online reservations services. By this system, she revisits the

online reservations services for each and every hotel shortly after the complaint is filed. Once it

is established (either by court order or by settlement agreement) when the hotel’s service is

required to become compliant, she marks that date and revisits at that time. Id., para. 8. Pursuant

to this system, Plaintiff visited Defendant’s discriminatory online reservations service five times

prior to the filing of the instant action (November 19, 23, 24, 25 and 27, 2019) and already

visited it afterward. This included a revisit shortly after the complaint was filed, on January 16,

2020. Id. Plaintiff recently again went through her entire list of hotels she had sued and revisited

the online reservations services for each. This recent recheck of all hotels included the

Defendant’s hotel ORS, which Plaintiff again revisited on May 15, 2020. Id. Thus, pursuant to

her system, Plaintiff has already revisited the hotel’s discriminatory online reservations service

twice since she filed the case.

        Moreover, Plaintiff plans to travel to New York once the Covid crisis subsides. Id., para.

5. She intends to visit her family and friends and also to travel throughout the state and needs to

stay in hotels during her travels. Id. She needs compliant hotel online reservations services so

that she has the information she requires to make an informed decision and reserve a room at a

hotel that suits her needs. Id.

II.     Defendant’s Arguments Are Without Merit



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       Defendant’s references to physical property cases are without merit. Kreisler v. Second

Ave Diner Corp., 731 F.3d 184 (2nd Cir. 2013); Harty v. Greenwich Hosp. Grp., LLC, 536 F.

App'x 154, 155 (2d Cir. 2013); and Harty v. Simon Prop. Grp., L.P., 428 F. App'x 69, 71–72 (2d

Cir. 2011); are inapposite. In all three cases, the injunctive relief sought by the plaintiff involved

remediation of physical conditions located at the physical properties. In all three cases, the

plaintiff was only injured when he or she personally visited the physical property and

encountered discriminatory conditions located there. In all three cases, the plaintiffs could only

again encounter discrimination by traveling back to the subject properties in the future.

       By contrast, in cases involving website discrimination, the injury occurs in the plaintiff’s

own home when they review the hotel’s discriminatory online reservations service. It is for this

reason that at least one court in the Southern District Of New York rejected the argument that the

cases cited above are applicable to cases involving website discrimination. In Camacho v.

Vanderbilt Univ., 2019 U.S. Dist. Lexis 209202, *30 (S.D.N.Y. 2019), one court stated:

       Defendant's argument, built around citations to cases involving ADA
       claims relating to access to physical locations, misses the mark. Plaintiff
       has claimed that he was denied access to the Website, not Defendant's
       physical location itself. Thus, Defendant need not have shown that he
       intended to "return" to Defendant's school in Nashville, Tennessee. He is
       only required to have established a reasonable inference that he intended
       to return to the Website, and the Court has found that this requirement is
       met.

       In Gonzalez v. Bahar Corp., 2019 U.S. Dist. Lexis 58567, *6 (E.D.N.Y. 2019), one court

in the Eastern District of New York cited the Harty v. Simon Property case and stated that the

issue is the plaintiff’s intent to return to the website, rather than the physical property. The court

contrasted the website case at issue against physical property cases, noting: “Here, [plaintiff’s]

desire to return to the website is especially plausible because this action can be completed by a




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few keystrokes, without cost, and at any time. Unlike the plaintiffs in Lujan v. Defenders of

Wildlife, 504 U.S. 538 (1992)], [plaintiff] is not alleging an intent to return to a physical location,

let alone a distant one. 2019 U.S. Dist. Lexis 58567, *7-8.

       Defendant and the Laxmi Court make reference to Griffin v. Dep't of Labor Fed. Credit

Union, 912 F.3d 649 (4th Cir. 2019)1. However, the Griffin opinion is flawed for multiple

reasons. In Griffin, the court held that a disabled plaintiff has a cause of action for commercial

website discrimination only if that website prevented him from access to the defendant’s service.

Id., at 653. What the court completely overlooked was the fact that the website was itself a

“service” of the place of public accommodation. See Haynes v. Dunkin Donuts, LLC, 741 Fed.

Appx. 752, 754 (11th Cir. 2018)(describing a commercial website as a “service” of a place of

public accommodation); Nat’l Fed’n Of The Blind v. Target Corp., 452 F. Supp. 946, 953 (N.D.

Cal. 2006)(same). 42 U.S.C. Section 12182(a) clearly spells out a complete cause of action as

follows: “No individual shall be discriminated against on the basis of disability in the full and

equal enjoyment of the ... services ... of any place of public accommodation...” Because the

websites are a “service”, all that is required is that a disabled person be deprived of full and equal

enjoyment of this “service”.2 Once that occurs, all the elements are satisfied to establish a cause

of action. Conspicuously absent from the Regulation or the Statute is any requirement that the




       1Griffin  involved the application of the ADA to commercial website compatibility with
screen reader software, an area to which no Department of Justice regulation has been
promulgated and, therefore, courts have less guidance in applying the law. By contrast, the
instant action involves a duly promulgated regulation which clearly imposes liability and
responsibilities with no requirement of any physical nexus between the discriminatory website
and physical hotel.
        2An online reservations service may also be characterized as a privilege or advantage,
also referenced in Subsection 12182(a).


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disabled person must additionally intend to be a client or customer, bona fide patron or, in this

case, book a room and stay at the hotel as a requirement for a cause of action.

       The Griffin court ignored the fact that when a disabled person encounters a

discriminatory website, he already is deprived “in the full and equal enjoyment of [a service] ...

of [the] place of public accommodation”. In short, the Griffin court misconstrued the locus of

injury as necessary being AT the physical facility. The court thus rewrote 42 U.S.C. Section

12182(a) to say that a disabled person only has a cause of action if they are deprived “full and

equal enjoyment of a service OF a place of public accommodation which, in turn, further

deprives them of full and equal enjoyment of an additional good or service AT the place of

public accommodation.” This clearly and improperly rewrites the statute by adding and

compounding requirements.

       The Griffin opinion is from the Fourth Circuit and, therefore, not binding precedent. By

contrast, this Court is bound to follow the three cases on point issued by the Supreme Court and

Second Circuit, with which Griffin is in conflict.

       First, the Griffin opinion runs afoul of PGA Tour v. Martin, 532 U.S. 661, 678-79 (2001),

which applied the rules of statutory construction in holding that the disabled plaintiff does not

need to be a client or customer of the defendant.

       Second, the Griffin opinion also is in conflict with Havens Realty Corp. v. Coleman, 455

U.S. 363 (1982), which held that black testers had standing to sue over discriminatory

information even though they did not intend to rent an apartment. For example, the Griffin court

stated: “Inability to obtain information is sufficiently concrete to constitute injury in fact only

when the information has some relevance to the litigant.” This conclusion is completely incorrect

in light of Havens Realty, which stands for the opposite proposition: specifically, that intent to go



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to the property (or rent an apartment there) was entirely unnecessary and that encountering the

discrimination defined by the plain words of the statute were sufficient. On this point, the

Havens Realty Court opined as follows:

       In the present context, "testers" are individuals who, without an intent to
       rent or purchase a home or apartment, pose as renters or purchasers for the
       purpose of collecting evidence of unlawful steering practices. Section
       804(d) states that it is unlawful for an individual or firm covered by the
       Act "[to] represent to any person because of race, color, religion, sex, or
       national origin that any dwelling is not available for inspection, sale, or
       rental when such dwelling is in fact so available," 42 U. S. C. § 3604(d)
       (emphasis added), a prohibition made enforceable through the creation of
       an explicit cause of action in § 812(a) of the Act, 42 U. S. C. § 3612(a).
       Congress has thus conferred on all "persons" a legal right to truthful
       information about available housing. 3

Havens Realty, 455 U.S. at 373. The Court went on to reason:

       This congressional intention cannot be overlooked in determining whether
       testers have standing to sue. As we have previously recognized, "actual or
       threatened injury required by Art. III may exist solely by virtue of 'statutes
       creating legal rights, the invasion of which creates standing . . . .'" Warth
       v. Seldin, [422 U.S. 490] at 500 [(1975)], quoting Linda R. S. v. Richard
       D., 410 U.S. 614, 617, n. 3 (1973). Accord, Sierra Club v. Morton, 405
       U.S. 727, 732 (1972); Trafficante v. Metropolitan Life Ins. Co., 409 U.S.
       205, 212 (1972) (WHITE, J., concurring). Section 804(d), which, in terms,
       establishes an enforceable right to truthful information concerning the
       availability of housing, is such an enactment. A tester who has been the
       object of a misrepresentation made unlawful under § 804(d) has suffered
       injury in precisely the form the statute was intended to guard against, and
       therefore has standing to maintain a claim for damages under the Act's
       provisions. That the tester may have approached the real estate agent fully
       expecting that he would receive false information, and without any
       intention of buying or renting a home, does not negate the simple fact of
       injury within the meaning of § 804(d). See Pierson v. Ray, 386 U.S. 547,
       558 (1967); Evers v. Dwyer, 358 U.S. 202, 204 (1958) (per curiam).
       Whereas Congress, in prohibiting discriminatory refusals to sell or rent in
       § 804(a) of the Act, 42 U. S. C. § 3604(a), required that there be a "bona

       3In Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1332-33 (11th Cir. 2013), the
Eleventh Circuit followed this analysis in holding that testers have standing for Title III ADA
cases because the statute’s substantially similar language that “no individual shall..” and “any
person discriminated against...” afforded tester standing.


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       fide offer" to rent or purchase, Congress plainly omitted any such
       requirement insofar as it banned discriminatory representations in §
       804(d).
       Havens Realty, 455 U.S. at 374.

       Third, the Griffin opinion is in conflict with the holding of Ragin v. Harry Maclowe Real

Estate Co., 6 F.3d 898 (2nd Cir. 1993). There, Second Circuit held that individuals had standing

to sue under the Fair Housing Act for the defendant’s placement of display advertising for

residential apartments in the newspaper because all the models portrayed in the ad were white.

The Court rejected the defendant’s argument, reasoning as follows:

               The defendants argue in their cross appeal that the individual
       plaintiffs have suffered no injury because they were not in the market for
       housing when they saw these ads but instead actively were combing the
       newspapers looking for these ads in order to bring a section 804(c) action.
       For the purpose of our discussion, we will assume that the plaintiffs were
       not actively looking for an apartment when they viewed the defendants'
       ads.
               The Supreme Court addressed the issue of private party standing to
       sue in FHA actions in Havens Realty Corp. v. Coleman, 455 U.S. 363, 71
       L. Ed. 2d 214, 102 S. Ct. 1114 (1982). In Havens Realty, the defendants
       argued that "testers"--individuals who, without the intent to rent an
       apartment, pose as renters for the purpose of collecting evidence of
       unlawful steering away of prospective minority purchasers by real estate
       agents--lacked standing to sue for violations of section 804(d) of the Act.
       Section 804(d) makes it unlawful for a person "to represent to any person
       because of race . . . that any dwelling is not available for . . . rental when
       such dwelling is in fact so available." 42 U.S.C. § 3604(d) (emphasis
       added). The Court rejected the defendants' argument and held that a tester
       who "may have approached the real estate agent fully expecting that he
       would receive false information, and without any intention of buying or
       renting a home," had standing to sue by virtue of his allegation that his
       statutorily created right to truthful information about the availability of
       housing was violated. Havens Realty, 455 U.S. at 374. The Court based
       its conclusion on the long-held principle that "the actual or threatened
       injury required by Art. III may exist solely by virtue of 'statutes creating
       legal rights, the invasion of which creates standing.'" Id. at 373 (quoting
       Warth v. Seldin, 422 U.S. 490, 500, 45 L. Ed. 2d 343, 95 S. Ct. 2197
       (1975)); see also Lujan, 112 S. Ct. at 2145.
               Here, Judge Sweet found that "a plaintiff who proves that she read
       the challenged advertisements and that the advertisements would indicate



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       a racial preference to the ordinary reader 'has suffered injury in precisely
       the form the [FHA] was intended to guard against, and therefore has
       standing to maintain a claim for damages under the Act's provisions.'" 801
       F. Supp. at 1229 (quoting Havens Realty, 455 U.S. at 373-74). We agree.
       There is no significant difference between the statutorily recognized injury
       suffered by the tester in Havens Realty and the injury suffered by the
       Ragins and the Cuylers, who were confronted by advertisements
       indicating a preference based on race. See Saunders v. General Servs.
       Corp., 659 F. Supp. 1042, 1053 (E.D. Va. 1987). Given the private
       attorney general provision in section 813(a) of the Act and the Supreme
       Court's holding in Havens Realty, the district court was constrained to find
       that the individual plaintiffs had standing to bring this action in federal
       court.

Ragin, 6 F.3d at 904.

       The cases cited above relied heavily on the rules of statutory construction and noted that

restrictive language contained in other statutes or subsections was absent from the subsections

governing their respective cases and, therefore, such restrictive language could not be applied.

       Thus, it is highly significant that the physical nexus requirement does indeed exist in a

different subsection. 42 U.S.C. Section 12182(b)(2)(A)(i) states that the term “discrimination”

includes: “the imposition or application of eligibility criteria that screen out or tend to screen out

an individual with a disability or any class of individuals with disabilities from fully and equally

enjoying any goods, services, facilities, privileges, advantages, or accommodations...” In this

Subsection alone, it is not enough for a disabled person to merely encounter a discriminatory

screening process. Rather, that discriminatory screening process is not actionable unless and until

it prevents them “from fully and equally enjoying any goods, services, etc....”

       Under Havens Realty and PGA Tours, because this additional restriction is set forth in 42

U.S.C. Section 12182(b)(2)(A)(i), but is completely absent from the Regulation or the

Subsections that govern hotel online reservation discrimination, the rules of statutory

construction require that it cannot be imposed here.



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       The Defendant in the instant case entirely misconstrues the nature of the injury. For

example, at p. 3 of its brief, the Defendant argues: “The prefatory language of the regulation at

issue clearly evidences that a putative plaintiff must have made an attempt, or have some intent,

to use the goods and services being discussed on the website at issue.” (Emphasis added.)

Defendant’s assertion in this regard is absurd. Clearly, no reading of the “prefatory language” or

any other relevant part of the Regulation or statutory subsections that govern online reservations

services contain any such requirement or support Defendant’s illogical interpretation. Again,

Defendant would have this Court overlook the fact that the online reservation service is the

“service” at issue and website discrimination4 is deprivation of full and equal enjoyment of a

“service”. Plaintiff’s cause of action is thus complete and nothing more is required.

       Thus, the injury-in-fact is the Plaintiff’s encounter with the Defendant’s discriminatory

online reservations service and the issue for purposes of injunctive relief is the likelihood that

Plaintiff would return to the website after the complaint was filed. In this case, and pursuant to

her system, Plaintiff visited the Defendant’s discriminatory online reservations service five times

prior to filing this case (November 19, 23, 24, 25, and 27, 2019) and already visited it twice

afterward. Her first post-complaint revisit was on January 16, 2020. Laufer Affid., para. 8. Thus,

she was already true to her word as of January this year when she averred in her Complaint that

she intended to revisit the websites in the near future. Pursuant to her system, she also rechecked

the websites of each and every hotel on her list, thus revisiting the online service for this hotel

May 15, 2020. Thus, pursuant to her system, Plaintiff has already revisited the hotel’s




       4As explained in Plaintiff’s Memorandum, the DOJ promulgated the Regulation pursuant
to 42 U.S.C. Section 12182(b)(2)(A)(ii). Thus, a hotel’s online reservations service’s failure to
comply with this Regulation constitutes a violation of this Subsection. This, in turn and by virtue


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discriminatory online reservations service twice since she filed the case. In Parks v. Shipwreck

Motel, Inc., 2:20-cv-227-SPC-NPM, DE 11, p. 6 (M.D. Fla. 5/18/20), one court held that such a

system satisfies intent to return requirement. Moreover, at least two courts have held that a

plaintiff’s post-complaint return establishes standing. See Payne v. Boston Market Corp., 5:12-

cv-354, DE 16 (E.D.N.C. 3/12/13); Kennedy v. Omega Gas, 9:17-cv-80103-RLR, DE 60, pp. 6-7

(S.D. Fla. 8/30/17).

        Lastly, Plaintiff at all times material hereto does indeed intend to visit New York to visit

her family, travel around the state and stay in hotels. Laufer Affid. Para. 5. In making such plans,

she needs to be able to review compliant hotel online reservations services so that she can make

meaningful choices. Id. Her travel plans are currently on hold pending the passing of the Covid

crisis. Id. Thus, the Defendant’s failure to comply with the law does in fact impede Plaintiff’s

ability to make a meaningful choice in planning her trip to New York and stay in hotels.

However, Plaintiff submits that this information is entirely unnecessary with respect to her right

to pursue this cause of action for online reservations discrimination because no intent is

necessary.

III.    Spokeo Does Not Diminish Plaintiff’s Rights

        The Supreme Court’s decision in Spokeo, Inc. v. Robins, 136 S.Ct. 1540 (2016) does not

negate Plaintiff’s right to sue, even in the absence of any intent to book a room at a hotel.

        A.     Havens Realty Remains On Point And Applicable

        First. the Spokeo Court refrained from actually holding that the plaintiff therein did not

suffer actionable injury, stating: “We take no position as to whether the Ninth Circuit’s ultimate



of Subsection (b)(2)(A), constitutes “discrimination” within the meaning of the general
prohibition set forth at Subsection 12182(a).


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conclusion — that Robins adequately alleged an injury in fact — was correct.” Spokeo, 136 S.Ct.

at 1540. Critically, the Spokeo Court did not overturn or narrow its prior holding in Havens

Realty. In this regard, the Spokeo Court stated:

               Just as the common law permitted suit in such instances, the
               violation of a procedural right granted by statute can be sufficient
               in some circumstances to constitute injury in fact. In other words, a
               plaintiff in such a case need not allege any additional harm beyond
               the one Congress has identified. See Federal Election Comm’n v.
               Akins, 524 U. S. 11, 20-25, 118 S. Ct. 1777, 141 L. Ed. 2d 10
               (1998) (confirming that a group of voters’ “inability to obtain
               information” that Congress had decided to make public is a
               sufficient injury in fact to satisfy Article III); Public Citizen v.
               Department of Justice, 491 U. S. 440, 449, 109 S. Ct. 2558, 105 L.
               Ed. 2d 377 (1989) (holding that two advocacy organizations’
               failure to obtain information subject to disclosure under the
               Federal Advisory Committee Act “constitutes a sufficiently
               distinct injury to provide standing to sue”).
               Spokeo, 136 S.Ct. At 1549-50.


       In the Akins decision referenced by Spokeo, the Supreme Court in turn referenced Havens

Realty as follows:

               Indeed, this Court has previously held that a plaintiff suffers an
               "injury in fact" when the plaintiff fails to obtain information which
               must be publically disclosed pursuant to a statute. Public Citizen v.
               Department of Justice, 491 U.S. 440, 449, 105 L. Ed. 2d 377, 109
               S. Ct. 2558 (1989) (failure to obtain information subject to
               disclosure under Federal Advisory Committee Act "constitutes a
               sufficiently distinct injury to provide standing to sue"). See also
               Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374, 71 L. Ed.
               2d 214, 102 S. Ct. 1114 (1982) (deprivation of information about
               housing availability constitutes "specific injury" permitting
               standing).
               Akins, 524 U.S. at 21.

       Thus, through Spokeo and Akins, the Supreme Court recognized that Havens Realty

remains valid law, being neither overturned nor narrowed. Plaintiff submits that Havens Realty,

and the Second Circuit case which followed Havens Realty, Ragin, are directly on point. As in



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the statute in Havens Realty, the ADA states that “No individual shall be discriminated

against...”. 42 U.S.C. Section 12182(a). Moreover, the ADA further provides that “any person

who is being subjected to discrimination on the basis of disability...” has the right to sue. 42

U.S.C. Section 12188(a). 5    In short, the statutory rights and remedies under the ADA are

substantially similar to those at issue in Havens Realty. Like the FHA in Havens Realty,

Congress created a statutory right to sue and created an injury, which includes a disabled

person’s encounter with discriminatory information. No gaps are left. A discriminatory online

reservations system constitutes an injury in two ways. First, it is failure to provide full and equal

enjoyment of a service, proscribed by Subsection 12182(a). Second, Subsection 12182(b)(2)(A)

states that this constitutes “discrimination”, all of which are actionable for “any person” by

virtue of Subsection 12188(a).

       Nor does the Spokeo opinion diminish, reverse or narrow the Second Circuit’s holding in

Ragin, which followed Havens Realty. Thus, both the Havens Realty and Ragin opinions stand

for the proposition that the receipt of discriminatory information constitutes actionable injury

even if the intended recipient had no intention of using that information for any additional

purpose. The conveyance of discriminatory information was, by itself, actionable.

       The Spokeo Court expressly recognized its own prior opinions which accorded the right

to sue over strictly informational violations. Spokeo specifically recognized the continuing

validity of Akins, which in turn specifically recognized Havens Realty. For this reason, the

holding of Havens Realty remains undiminished.




       5As explained previously, failure to comply with the regulation governing online hotel
reservations services constitutes “discrimination”, pursuant to 42 U.S.C. Section
12182(b)(2)(A)(ii).


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       B.      The “Injury” At Issue In Spokeo Starkly Contrasts With The Plaintiff’s
               Injury

       The injury discussed in Spokeo and the Plaintiff’s injury at issue herein stand in stark

contrast. Whereas the regulation and statutory provision in the ADA draw a clear line between a

disabled person’s encounter with a discriminatory online reservations service and his injury and

right to sue, no such line was established for the Spokeo plaintiff.

       For injury under the applicable provisions of the ADA, the Regulation and applicable

subsections completely spell out a cause of action. Moreover, the question as to whether any

additional requirements can be judicially imposed are answered in the negative by the fact that

such “client or customer” language or physical nexus requirement language is contained

elsewhere, but omitted here.

       Thus, a disabled plaintiff’s rights, the definition of injury, right to sue, and what

requirements must be excluded from applicable provisions, are unambiguously clear in the ADA.

       By contrast, the injury and statutory rights discussed in Spokeo were vague.

       First, unlike the ADA or the Havens Realty case, the Spokeo case did not involve

discrimination. Rather it involved the Fair Credit Reporting Act. In the ADA, the statute is

intended to prohibit the conveyance of a discriminatory online reservations service to a disabled

person. There, the intended recipients of the information and the members of the protected class

are the same. As in Havens Realty and Ragin, the injury naturally occurs when the

discriminatory information is received by the plaintiff (the member of the protected class).

       In the FCRA, by contrast, the intended recipients of the information are third party

creditors and prospective employers, an entirely different class of persons from those the statute

was designed to protect. In other words, there is an additional and indirect causal link required




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for the member of the protected class to suffer harm.        The FCRA is essentially a defamation

statute. For defamation to occur, a third party must receive the information to the detriment of a

member of the protected class. In Spokeo, there was no indication that any third party creditors

received the false information at issue. Only that, the plaintiff “learned of these inaccuracies” and

thereupon filed suit. Spokeo, 136 S.Ct. at 1544.

        Most significantly, the prerequisites for a civil suit differ significantly between Spokeo

and the ADA. Whereas the ADA’s 12188(a) provides a remedy to “any person who is being

subjected to discrimination...”, the Spokeo Court described the FCRA’s statutory enforcement

provision as follows: “The Act also provides that “[a]ny person who willfully fails to comply

with any requirement [of the Act] with respect to any [individual is liable to that [individual]”

for, among other things, either “actual damages” or statutory damages of $100 to $1,000 per

violation, costs of the action and attorney’s fees, and possibly punitive damages. Spokeo, 136

S.Ct. at 1545. There is nothing in the Spokeo opinion indicating whether or not the plaintiff

satisfied this provision, thus entitling him to sue.

        To summarize, the ADA’s actionable injury is clear. A disabled person who encounters a

discriminatory online reservation is “any person subjected to discrimination” and has the express

statutory right to sue. The injury occurs when the disabled person reviews the discriminatory

information. Indeed, the sole purpose of the Regulation is to provide the required information to

a disabled person.

        By contrast, the FCRA protects one class (the consumer) regarding incorrect information

provided    to   a   different   class   (creditors,    employers   or   romantic   interests).   The

plaintiff/consumer’s review of his own inaccurate information does not necessarily constitute

injury, particularly when the statute provides relief for “actual” or “statutory” damages.



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       On the one hand, the Plaintiff’s rights under the ADA’s are substantially identical to

those discussed in Havens Realty and Ragin. On the other hand, the statutory rights at issue

herein differ substantially from that discussed in Spokeo. Therefore, Plaintiff submits that

Havens Realty governs.

IV.    Defendant’s Improper Argument On The Merits

       In a footnote, the Defendant also argues that Plaintiff should have overcome the

deficiencies in Defendant’s online reservations service by calling the hotel. This argument has

been rejected because requiring a disabled person to call a hotel fails the Regulation’s

requirement that the rooms be identified and bookable in the same manner as the other rooms

and that the required information be contained on the website itself without the disabled person

having to undertake extra efforts. See Poschman v. Coral Reef Of Key Biscayne Developers,

Inc., 2018 U.S. Dist. Lexis 87457 (S.D. Fla. 5/22/18); Juscinska v. Paper Factory Hotel, LLC,

2019 U.S. Dist. Lexis 92550 **9-10 (S.D.N.Y. 2019)(ability to telephone or email hotel is not

“same manner” and therefore not a viable defense).

       Moreover, Defendant’s reference in this regard is not relevant to the issue of standing and

is beyond the scope of the Court’s Order re standing. Defendant is in default and has been so

since February 24, 2020, DE 8. Plaintiff moved for Default Judgment on March 24, 2020. DE 11.

Although Defendant’s counsel moved for admission Pro Hac Vice on April 20, 2020, and

Defendant has been on notice now for more than two months of the default, Defendant has not

challenged the default or filed any motion to set it aside. Thus, any argument on the merits made

by Defendant is entirely improper.




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V.     Conclusion

       For the foregoing reasons, Defendant’s arguments are entirely lacking in merit. The

injury occurred when Plaintiff reviewed Defendant’s discriminatory online reservations service

in her own home and the imposition of any additional requirement that she intend to book a room

at the hotel, or otherwise visit the hotel, is entirely improper in light of precedent from the

Supreme Court and Second Circuit as well as the ample caselaw cited in Plaintiff’s

Memorandum. Quite simply, a court cannot add a requirement to a clear statute. Nor can a court

take restrictive language from one subsection of a statute and insert it into another where

Congress omitted it.

Dated: New York, New York
       July 1, 2020
                                                   Peter Sverd, Esq.




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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK

DEBORAH LAUFER,
         Plaintiff,

v.                                                       Case No: 3:19-cv-01581-BKS-ML


JEGG REALTY NORWICH, LLC,
          Defendant.

           STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


      1.   My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

           am unable to engage in the major life activity of walking more than a few steps

           without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

           a cane or other support and have limited use of my hands. I am unable to tightly

           grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

           ambulating beyond the comfort of my own home, I must primarily rely on a

           wheelchair. I require accessible handicap parking spaces located closet to the

           entrances of a facility. The handicap and access aisles must be of sufficient width

           so that I can embark and disembark into a vehicle. Routes connecting the

           handicap spaces and all features, goods and services of a facility must be level,

           properly sloped, sufficiently wide and without cracks, holes or other hazards that

           can pose a danger of tipping, catching wheels or falling. These areas must be free

           of obstructions or unsecured carpeting that make passage either more difficult or

           impossible. Amenities must be sufficiently lowered so that I can reach them. I



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      have difficulty operating door knobs, sink faucets, or other operating mechanisms

      that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

      have unwrapped pipes, as such pose a danger of scraping or burning my legs.

      Sinks must be at the proper height so that I can put my legs underneath to wash

      my hands. I require grab bars both behind and beside a commode so that I can

      safely transfer and I have difficulty reaching the flush control if it is on the wrong

      side. I have difficulty getting through doorways if they lack the proper clearance.

      To use a pool, I require a lift or other accessible means. When sleeping in a guest

      room, I need a compliant tub or shower with required grab bars.

 2.   When looking at a hotel online reservation service, I need information so that I

      can ascertain whether or not the hotel and its guest rooms are accessible to me.

      This includes information whether the conditions referenced above are compliant.

 3.    In the past, I have observed that the vast majority of hotel online reservations

      services do not allow for booking of accessible rooms or provide the information I

      need to make an informed choice. I have also booked a room at hotels whose

      websites claim they are “accessible”, only to find that this claim is untrue.

      Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

      an accessible hotel. The failure of so many hotels to comply with the law in this

      regard deter me from making travel plans. Therefore, I am an advocate on behalf

      of both myself and other similarly situated disabled persons and consider myself a

      tester. As a tester, I visit hotel online reservations services to ascertain whether

      they are in compliance with the Americans With Disabilities Act. In the event that


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      they are not, I request that a law suit be filed to bring the website into compliance

      with the ADA so that I and other disabled persons can use it.

 5.   I used to live in New York, have family there, and return constantly. I frequently

      stay in a a hotel when I go up. I have also traveled throughout the state. I plan to

      return to New York, travel around the entire state, and stay in hotels as soon as the

      Covid crisis is over. My plans to return to the area this summer are presently on

      hold because of this crisis. When I can return, I need to review the online

      reservations services of New York hotels so that I can make meaningful choices

      and plan my trip.

 6.   Rooms for the Chenango Inn And Suites, 75 N. Broad St., Norwich NY, can be

      booked through an online reservations service. I visited this online reservations

      service on November 19, 23, 24, 25, and 27, 2019 and January 16, 2020. I also

      recently went through my entire list of hotels and revisited the online reservations

      services for each. Pursuant to this last round, I revisited the online reservations

      service for Defendant’s hotel on May 15, 2020. I visited the online reservation

      service for the Defendant’s hotel for the purpose of reviewing and assessing the

      accessible features at the hotel and ascertain whether the websites contain the

      information required by 28 C.F.R. Section 36.302(e) and adequately informs me

      as to whether the hotel meets my accessibility needs. I was in my own home in

      Pasco County when I visited these websites. However, I was unable to do so

      because Defendant failed to comply with the requirements set forth in 28 C.F.R.

      Section 36.302(e). As a result, I was deprived the same services available to the


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      general public. The websites do not identify any accessible rooms, provide for

      booking of accessible rooms or contain any information as to whether any rooms

      or features at the hotel are accessible.

 7.   When I encountered the above conditions, I suffered humiliation and frustration at

      being treated like a second class citizen, being denied equal access and benefits to

      the goods, facilities, accommodations and services. I am deterred from returning

      to the websites because I understand that it would be a futile gesture to do so

      unless I am willing to suffer further discrimination. I am aware that defendant

      segregates against me and other disabled persons by offering them one service: me

      a lesser service.. I am aware that I am being deprived the equality of opportunity

      afforded to non-disabled persons to utilize the online reservation service free of

      discrimination. I am also aware that my ability to travel free of discrimination and

      with equal access to information offered to the general public is diminished.

 8.   I have a system to ensure that I revisit the online reservations services for every

      hotel I sue. In this regard, I maintain a list of each hotel I have sued. I constantly

      go through this list and add to it. With respect to each hotel I sue, shortly after the

      complaint is filed, I revisit the hotel’s online reservations service. Once a case is

      settled, I mark the date on my list when the defendant has agreed to fix its

      websites or when it is otherwise required to become compliant. When that date

      arrives, I revisit it again and record my visits. Thus, I revisit each hotel’s online

      reservations service multiple times times after a lawsuit is filed. In this case and

      pursuant to my system, I visited the hotel’s online reservations service five times


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               before the case was filed (November 19, 23, 24, 25, and 27, 2019) and twice

               afterwards (on January 16, 2020 and again on May 15, 2020, when I revisited the

               online services for all hotels on my entire list over the course of several days). I

               plan to again revisit the hotel’s online reservations service as soon as it is required

               to become compliant, either by Court order or by settlement agreement.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

Date: 6.30.20
      _________                               __________________________________
                                                      DEBORAH LAUFER




                                                                           5
